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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                         97–CR-124(18)(JMR/AJB)
                             05-CV-2585(JMR)


United States of America            )
                                    )
            v.                      )           ORDER
                                    )
Angelica Barajas-Ramirez            )


      Angelica Barajas-Ramirez petitions the Court for relief under

28 U.S.C. § 2255.     Her petition is denied.

I.   Background

     On February 19, 1998, petitioner was charged by indictment

with four    counts   of   drug   trafficking    activities     in   a   multi-

defendant drug conspiracy.        In Count One, Ms. Barajas-Ramirez was

charged with conspiracy to distribute and to posses with intent to

distribute in excess of 10 pounds of methamphetamine, and in excess

of 500 grams of cocaine, in violation of 21 U.S.C. §§ 846 and

841(b)(1)(A); in Count Five she was charged with possession with

intent to distribute in excess of 10 pounds of methamphetamine, in

violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A); in Count

Twelve she was charged with use of a communication facility to

further a drug felony, in violation of 21 U.S.C. § 843(b) and 18

U.S.C. § 2; and in Count Thirteen she was charged with conspiracy

to launder money obtained from unlawful activity, in violation of

18 U.S.C. §§ 1956(a)(1)(B) and 1956(h).

      Petitioner scheduled a change of plea hearing for October 7,

2003.   She was expected to plead guilty to Count Twelve, which
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carries a maximum sentence of four years.                    The remaining Counts

were to be dismissed pendent on her plea.                  The change of plea did

not go as planned, however, in that petitioner refused to admit she

knew her telephone conversations furthered a drug crime.                          In the

absence of an admission of guilt, the Court rejected her guilty

plea and continued the hearing to the next day.                             Later that

morning, petitioner’s counsel notified the Court that petitioner

would proceed to trial.

       On December 11, 2003, following a three-day jury trial,

petitioner was convicted of conspiracy to distribute and to posses

with    intent     to    distribute      both    methamphetamine        and      cocaine;

possession        with    intent    to     distribute      methamphetamine;           and

conspiracy to launder money obtained from unlawful activity.                           On

December     1,     2004,    petitioner         was   sentenced        to   84     months

imprisonment.       At sentencing, the Court informed petitioner of her

right to appeal her conviction and sentence, but petitioner failed

to appeal.

       Petitioner’s § 2255 motion claims she suffered violations of

the Sixth and Eighth Amendments based on her ineffective assistance

of counsel.       She claims her trial lawyer failed to object to the

drug quantity contained in the Presentence Investigation Report

(“PSR”), and failed to adequately advise her of the relative

advantages of accepting a plea bargain. Petitioner also claims her

sentence is unconstitutional under United States v. Booker, 543


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U.S. 220 (2005).      Finally, she claims her attorney’s failure to

inform her of the consequences of proceeding to trial renders her

seven-year sentence cruel and unusual punishment under the Eighth

Amendment.    Each claim fails.

II.   Discussion

      Claims of ineffective assistance of counsel are analyzed under

the two-part test announced in Strickland v. Washington, 466 U.S.

668 (1984).    In order to prevail, petitioner must show:                     (1) that

counsel’s    representation      fell     below     an   objective     standard         of

reasonableness,      Id.    at     688;       and   (2)    but       for     counsel’s

unprofessional errors, the result of the proceeding would have been

different.    Id. at 694.

      A.   Presentence Investigation Report

      Petitioner claims her attorney’s assistance was ineffective in

failing to object to the drug quantity in the PSR.                    Setting aside

the fact that petitioner cites no evidence to contradict the facts

detailed in the PSR, she fails to show how a lower drug quantity

would alter her sentence. Under the Federal Sentencing Guidelines,

a defendant’s base offense level in a drug conspiracy case is based

on the drug quantity, which includes “all transactions engaged in

by [the defendant] or by [her] coconspirators . . .                               if the

transactions were either known to [her] or reasonably foreseeable

to [her].”     United States v. Negron, 967 F.2d 68, 72 (7th Cir.

1992).       The   sentencing      court      is    “required    to        find    by    a


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preponderance of the evidence that the activity involving those

drugs was in furtherance of the conspiracy.”              United States v.

Mickelson, 378 F.3d 810, 822 (8th Cir. 2004).

      The PSR attributed ten pounds of a methamphetamine mixture and

approximately 2.9 kilograms of pure methamphetamine to petitioner

for purposes of setting a base offense level.                  Based on the

evidence presented at trial, as well as the witness and co-

conspirator statements contained in the PSR, the Court found the

drug quantity contained in the PSR attributable to petitioner by a

preponderance of the evidence.      Under the Sentencing Guidelines in

effect at the time of petitioner’s sentencing, that drug quantity

resulted in a base offense level of 38.           U.S.S.G. § 2D1.1(c)(1)

(Nov. 2003).

      The jury found petitioner guilty of conspiring to distribute

in excess of 10 pounds of methamphetamine, and of aiding and

abetting in the possession with intent to distribute the same

quantity of methamphetamine.      Thus, the minimum drug quantity the

Court could have found consistent with the jury verdict would have

been 10 pounds of methamphetamine, for which the base offense level

is   34.   U.S.S.G.    §   2D1.1(c)(3).       Notwithstanding      this      drug

quantity, however, the Guidelines capped petitioner’s base offense

level at 30 due to her minor or minimal role in the offense.

U.S.S.G. § 2D1.1(a)(3).     This means that petitioner’s base offense

level was actually set lower than the level which was supported by


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her offense of conviction – an offense of which she was found

guilty beyond a reasonable doubt. Thus, even assuming petitioner’s

counsel   had   objected   to     the    PSR’s    drug    quantity,     counsel’s

objection    could   not   have    changed       the   outcome     of   the   case;

petitioner’s offense level would remain at 30.1

     After a two-level reduction for acceptance of responsibility,

petitioner’s adjusted offense level was 28, corresponding to a 78

to 87 month sentencing range.           She was ultimately sentenced to 84

months -- the middle of the range.           Petitioner has failed to show

any prejudice as a result of her attorney’s actions; accordingly,

this claim cannot be sustained.

     B.     Proceeding to Trial

     The bulk of petitioner’s argument rests on her claim that her

trial counsel was ineffective for failing to advise her of the

consequences of being convicted at trial.                “When the defendant’s

claim is that counsel misadvised [her] of the relative advantages

of pleading guilty rather than proceeding to trial, in order to

show prejudice, the defendant ‘must show that, but for [her]

counsel’s advice, [s]he would have accepted the plea.’” Sanders v.




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      Petitioner’s offense level was ultimately driven by her
conviction on the money laundering count. That count established
a base offense level premised on the “offense level for the
underlying offense from which the laundered funds were derived” –
in petitioner’s case, the drug activities. U.S.S.G. § 2S1.1(a)(1).



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United States, 341 F.3d 720, 722 (8th Cir. 2003) (quoting Engelen

v. United States, 68 F.3d 236, 241 (8th Cir. 1995)).

     Here,    petitioner’s   counsel     negotiated     a      favorable       plea

agreement for her which would have limited her sentence to four

years.   As part of the agreement, she would have been required to

testify to the essential elements of the crime, including the fact

that she knew her phone conversations facilitated the commission of

a drug crime.    But petitioner refused to admit guilt.             During the

plea colloquy, she repeatedly claimed she did not know the money

she spoke about over the phone derived from drug proceeds until “in

the end, after everything that happened had already happened.”

(Plea Tr. at 22.)    The Court declined to accept her plea based on

her refusal to admit her guilt.         Petitioner’s self-serving, post-

conviction assertion – that she would have pleaded guilty were it

not for her counsel’s advice – is insufficient to establish a

“reasonable probability” that she would have accepted the plea

agreement.    See Engelen, 68 F.3d at 241.          The record is clear:

petitioner was given an opportunity to plead guilty, and she failed

to do so.

     Petitioner’s claim that her counsel was ineffective for trying

her case when she blatantly refused to cooperate with the plea

agreement rings hollow; it is entirely proper for counsel to try a

case where the defendant refuses to admit participation in illegal

activities.     This claim must also fail.


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      C.    Booker Claim

      Petitioner next asserts that the Court’s finding regarding the

applicable drug quantity by a preponderance of evidence standard

was unconstitutional under United States v. Booker, 543 U.S. 220

(2005), which held that all sentencing factors must be proven

beyond a reasonable doubt.             It is clear, as set forth above, that

the drug quantity had no effect on petitioner’s sentence; but more

importantly, for this claim, Booker does not apply retroactively.

The Eighth Circuit Court of Appeals has stated that Booker “does

not apply to criminal convictions that became final before the

[case]     was    announced,     and    thus    does    not    benefit        movants    in

collateral proceedings.” Never Misses A Shot v. United States, 413

F.3d 781, 783-84 (8th Cir. 2005) (per curiam).                               Petitioner’s

conviction became final on December 6, 2004, and Booker was decided

on   January      12,    2005.    Booker       does    not    apply     to    this    case;

therefore, this claim fails.

      D.    Eighth Amendment

      Petitioner claims that because her trial counsel provided her

with ineffective assistance, her sentence of 84 months imprisonment

for a first time offender is cruel and unusual punishment, and in

violation        of     the   Eighth    Amendment        of    the      United       States

Constitution.           As discussed, the Court rejects the claims that

petitioner’s          counsel    was    ineffective.            But     even     if     the




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representation      had    been       ineffective,       an    84-month      sentence     is

constitutional.

       The Eighth Amendment forbids only extreme sentences which are

grossly disproportionate to the crime.                      United States v. Collins,

340 F.3d 672, 679 (8th Cir. 2003). The statutory mandatory minimum

sentence petitioner would have received, but for her first time

offender status, is ten years.                    See 21 U.S.C. § 841(b)(1)(A).

Mandatory minimum sentences for drug offenses do not violate the

Constitution’s Eighth Amendment’s prohibition against cruel and

unusual punishment.        Collins, 340 F.3d at 679.                 Given that a ten-

year sentence for the same crime would have passed constitutional

muster, petitioner’s 84-month sentence does not offend the Eighth

Amendment.       Moreover,       as    a    matter     of    law,    sentences    imposed

pursuant to the Guidelines do not violate the Eighth Amendment.

United States v. Foote, 920 F.2d 1395, 1401 (8th Cir. 1990), cert.

denied, 500 U.S. 946 (1991).               Accordingly, petitioner’s claim must

fail.

III.    Certificate of Appealability

       The Court has also considered whether it is appropriate to

issue a Certificate of Appealability (“COA”).                          See Tiedeman v.

Benson, 122 F.3d 518 (8th Cir. 1997).                  The Court concludes that no

issue raised is “debatable among reasonable jurists.”                              Cox v.

Norris,    133   F.3d     565,    569      (8th   Cir.      1997).        Petitioner     has

therefore not made the “substantial showing of the denial of a


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constitutional right” necessary for issuance of a COA.               28 U.S.C.

§ 2253(c)(2).

IV.   Conclusion

      Based on the files, records, and proceedings herein, IT IS

ORDERED that:

      1.   Petitioner’s motion for relief pursuant to § 2255 [Docket

No. 1131] is denied.

      2.   A Certificate of Appealability will not be issued in this

matter.

Dated: February 1, 2007



                                   s/ James M. Rosenbaum
                                   JAMES M. ROSENBAUM
                                   United States Chief District Judge




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